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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

ROTHSCHILD PATENT                   §
IMAGING LLC,                        §               Case No: 1:22-cv-01161-NLH-AMD
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §
                                    §
H&M SYSTEM SOFTWARE, INC.,          §               REQUEST FOR CLERK’S ENTRY
                                    §               OF DEFAULT JUDGMENT
      Defendant.                    §
___________________________________ §


Plaintiff, ROTHSCHILD PATENT IMAGING LLC,, hereby requests the Clerk to enter a default

against the defendant, H&M SYSTEM SOFTWARE, INC., on the basis that the record in this case

demonstrates that there has been a failure to plead or otherwise defend as provided by Rule 55(a)

of the Federal Rules of Civil Procedure.

Dated: 07/28/2022                                   Respectfully Submitted

                                                    /s/ Mark A. Kriegel______
                                                    Attorney for Plaintiff,
                                                    Rothschild Patent Imaging, LLC
